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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
HOUGHTON MIFFLIN                                      :   Case No. 12-12171 (REG)
HARCOURT PUBLISHING COMPANY, :
                                                      :
                                    Debtor.           :
----------------------------------------------------- x
                                                      :
In re:                                                :   Chapter 11
                                                      :
HOUGHTON MIFFLIN                                      :   Case No. 12-12173 (REG)
HARCOURT PUBLISHERS INC.,                             :
                                                      :
                                    Debtor.           :
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In re:                                                :   Chapter 11
                                                      :
HMH PUBLISHERS, LLC,                                  :   Case No. 12-12174 (REG)
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :   Chapter 11
                                                      :
HOUGHTON MIFFLIN                                      :   Case No. 12-12175 (REG)
HOLDING COMPANY, INC.,                                :
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :   Chapter 11
                                                      :
HOUGHTON MIFFLIN, LLC,                                :   Case No. 12-12176 (REG)
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
HOUGHTON MIFFLIN FINANCE, INC., :                             Case No. 12-12177 (REG)
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
HOUGHTON MIFFLIN                                      :       Case No. 12-12178 (REG)
HOLDINGS, INC.,                                       :
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
HM PUBLISHING CORP.,                                  :       Case No. 12-12179 (REG)
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
RIVERDEEP INC., A LIMITED                             :       Case No. 12-12180 (REG)
LIABILITY COMPANY                                     :
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
BRODERBUND LLC,                                       :       Case No. 12-12181 (REG)
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
RVDP, INC.,                                           :       Case No. 12-12182 (REG)
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
HRW DISTRIBUTORS, INC.,                               :       Case No. 12-12183 (REG)
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
GREENWOOD PUBLISHING                                  :       Case No. 12-12184 (REG)
GROUP, INC.,                                          :
                                                      :
                                    Debtor.           :
----------------------------------------------------- x
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In re:                                                :       Chapter 11
                                                      :
CLASSROOM CONNECT, INC.,                              :       Case No. 12-12185 (REG)
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
ACHIEVE! DATA SOLUTIONS, LLC,                         :       Case No. 12-12186 (REG)
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
STECK-VAUGHN                                          :       Case No. 12-12187 (REG)
PUBLISHING LLC,                                       :
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
HMH SUPPLEMENTAL                                      :       Case No. 12-12188 (REG)
PUBLISHERS INC.,                                      :
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
HMH HOLDINGS (DELAWARE) INC,                          :       Case No. 12-12189 (REG)
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
SENTRY REALTY CORPORATION                             :       Case No. 12-12190 (REG)
                                                      :
                                    Debtor.           :
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In re:                                                :       Chapter 11
                                                      :
HOUGHTON MIFFLIN COMPANY                              :       Case No. 12-12191 (REG)
INTERNATIONAL, INC.,                                  :
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
THE RIVERSIDE PUBLISHING                              :       Case No. 12-12192 (REG)
COMPANY                                               :
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
CLASSWELL LEARNING                                    :       Case No. 12-12193 (REG)
GROUP INC.                                            :
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
COGNITIVE CONCEPTS, INC.                              :       Case No. 12-12194 (REG)
                                                      :
                                    Debtor.           :
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                                                      :
In re:                                                :       Chapter 11
                                                      :
EDUSOFT                                               :       Case No. 12-12195 (REG)
                                                      :
                                    Debtor.           :
----------------------------------------------------- x
                                                      :
In re:                                                :       Chapter 11
                                                      :
ADVANCED LEARNING                                     :       Case No. 12-12196 (REG)
CENTERS, INC.                                         :
                                                      :
                                    Debtor.           :
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          ORDER DIRECTING JOINT ADMINISTRATION OF THE DEBTORS’
             CHAPTER 11 CASES AND GRANTING RELATED RELIEF

Upon the motion (the “Motion”) 1 of Houghton Mifflin Harcourt Publishing Company and its

affiliated debtors and debtors-in-possession in the above-captioned cases (each a “Debtor,” and

collectively, the “Debtors”), requesting entry of an order pursuant to section 105(a) of title 11 of

the Bankruptcy Code and Bankruptcy Rule 1015(b), administratively consolidating their

respective Chapter 11 Cases for procedural purposes only and providing for joint administration;

and upon consideration of the Bayers Affidavit; and it appearing that this Court has jurisdiction

to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that venue of

these cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing

1
    All capitalized terms used and not defined herein shall have the meaning ascribed to them in the Motion.


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that notice of the Motion has been given as set forth in the Motion and that such notice is

adequate and no other or further notice need be given; and a hearing having been held to

consider the relief requested in the Motion and upon the record of the hearing and all of the

proceedings had before the Court; and the Court having found and determined that the relief

sought in the Motion is in the best interests of the Debtors, their estates, their creditors and all

other parties-in-interest; and that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is hereby ORDERED that:

                1.      The Motion is GRANTED as modified herein.

                2.      Pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule

1015(b), the above-captioned Chapter 11 Cases shall be consolidated for administrative purposes

only and jointly administered as Case No. 12-12171 (REG).

                3.      The following caption shall be used for all pleadings filed in the above-

referenced cases:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- x
                                                            : Chapter 11
In re:
                                                            :
                                                            : Case No. 12-12171 (REG)
HOUGHTON MIFFLIN                                            :
HARCOURT PUBLISHING COMPANY, et al.,                        : Jointly Administered
                                                            :
                          Debtors.
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               4.      A docket entry shall be made in each of the above-referenced chapter 11

cases, other than the docket maintained for the Chapter 11 Case of Houghton Mifflin Harcourt

Publishing Company, substantially as follows:

       “An Order has been entered in this case pursuant to Rule 1015(b) of the Federal
       Rules of Bankruptcy Procedure directing the procedural consolidation and joint
       administration of the chapter 11 cases of Houghton Mifflin Harcourt Publishing
       Company, Houghton Mifflin Harcourt Publishers Inc., HMH Publishers, LLC,
       Houghton Mifflin Holding Company, Inc., Houghton Mifflin, LLC, Houghton
       Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM Publishing Corp.,
       Riverdeep Inc., a Limited Liability Company, Broderbund LLC, RVDP, Inc.,
       HRW Distributors, Inc., Greenwood Publishing Group, Inc., Classroom Connect,
       Inc., ACHIEVE! Data Solutions, LLC, Steck-Vaughn Publishing LLC, HMH
       Supplemental Publishers Inc., HMH Holdings (Delaware), Inc., Sentry Realty
       Corporation, Houghton Mifflin Company International, Inc., The Riverside
       Publishing Company, Classwell Learning Group Inc., Cognitive Concepts, Inc.,
       Edusoft and Advanced Learning Centers, Inc. All further pleadings and other
       papers shall be filed in, and all further docket entries shall be made in the docket
       of Houghton Mifflin Harcourt Publishing Company, Case No. 12-12171 (REG)
       and such docket should be consulted for all matters affecting this chapter 11
       case.”

               5.      Notwithstanding any provision in the Bankruptcy Rules to the contrary:

(a) this Order shall be effective immediately and enforceable upon its entry; (b) the Debtors are

not subject to any stay in the implementation, enforcement or realization of the relief granted in

this Order; and (c) the Debtors are authorized and empowered, and may in their discretion and

without further delay, take any action and perform any act necessary to implement and effectuate

the terms of this Order.

               6.      Nothing contained in this Order shall be deemed or construed as directing

or otherwise effecting the substantive consolidation of any of the above-captioned cases.




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               7.     The Debtors shall be permitted to file the monthly operating reports

required by the U.S. Trustee’s Operating Guidelines on a consolidated basis, provided, however,

that the Debtors shall track and break out disbursements on a Debtor by Debtor bases.

               8.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.



Dated: May 22, 2012
       New York, New York

                                             s/ Robert E. Gerber
                                             UNITED STATES BANKRUPTCY JUDGE




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